                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

 PSARA ENERGY, LTD.                       §
                                          §
 v.                                       §
                                          §    C.A. NO. 1:18-CV-00178
 SPACE SHIPPING, LTD.; GEDEN              §
 HOLDINGS LTD.; ADVANTAGE                 §    ADMIRALTY
 ARROW SHIPPING, LLC; GENEL               §
 DENIZCILIK NAKLIYATI A.S.                §
 A/K/A GEDEN LINES;                       §
 ADVANTAGE TANKERS, LLC;                  §
 ADVANTAGE HOLDINGS, LLC;                 §
 FORWARD HOLDINGS, LLC;                   §
 MEHMET EMIN KARAMEHMET;                  §
 GULSUN NAZLI KARAMEHMET-
 WILLIAMS; and TUGRUL
 TOKGÖZ

                         ADVANTAGE DEFENDANTS’
                     MOTION TO VACATE ATTACHMENT OR,
                 ALTERNATIVELY, FOR REDUCTION IN SECURITY

        Plaintiff Psara Energy, Ltd. (“Psara”) has filed an action against Defendants

Advantage Arrow Shipping, LLC, Advantage Tankers, LLC, Advantage Holdings,

LLC, and Forward Holdings, LLC (collectively, the “Advantage Defendants”),

Geden Holdings LTD., Genel Denizcilik Nakliyati A.S. a/k/a Geden Lines, and

Space Shipping, LLC (“Space Shipping”) (collectively, the “Geden Group”) and the

individuals Mehmet Emin Karamehmet, Gulsun Nazli Karamehmet-Williams, and

Tugrul Tokgöz. In this action, Psara has sought and obtained attachment of the motor

tanker ADVANTAGE ARROW (the “Vessel”), a vessel owned by Advantage

Arrow Shipping, as security for a debt allegedly owed not by any of the Advantage



WFW 80371456v1
PD.23611915.1
Defendants but by one or more members of the Geden Group.

           The Advantage Defendants, making their appearance specially and not

generally and pursuant to Federal Rule of Civil Procedure Supplemental Rule for

Admiralty or Maritime Claims E(8), and expressly reserving all defenses,

particularly as to jurisdiction, subject matter jurisdiction, and venue, make this

Motion to Vacate the attachment1 Psara has obtained in this action against the

Advantage Defendants. If this Honorable Court is not inclined to vacate the

attachment at this time, the Advantage Defendants move in the alternative for an

order reducing the amount of security necessary to obtain the release of the motor

tanker ADVANTAGE ARROW (the “Vessel”).

           The Advantage Defendants’ immediate priority is obtaining a vacatur of the

attachment of the Vessel so that it may continue its voyage, but the Advantage

Defendants reserve the right to seek damages from Psara for the wrongful attachment

of the Vessel.

                                               INTRODUCTION

           Psara has obtained an attachment of the Vessel based on the allegation that

the Advantage Defendants are liable for the debts of the Geden Group (or, perhaps,

one or more single-vessel-owning companies within the ownership of the Geden



1
    Psara has also wrongfully attached the motor tanker ADVANTAGE START (a vessel owned by a separate but
    related Advantage entity who is not a defendant in this action) in the Eastern District of Louisiana. The attachment
    of the ADVANTAGE START will be the subject of a separate request for relief in that court.


                                                          -2-
PD.23611915.1
Group). However, the Advantage Defendants have litigated these claims with Psara

and others before, and prevailed.

           In 2015, Psara, Tank Punk, Inc., and Eclipse Liquidity, Inc. made

substantively identical claims in the Southern District of Texas in cause numbers

4:15-cv-01645, 4:15-cv-01673, and 4:15-cv-01675 (which were ultimately

consolidated into the first-filed action).2 Although Psara, Tank Punk, and Eclipse

Liquidity (all represented by the same counsel representing Psara here) clothed their

request for relief in different legal arguments in the Southern District of Texas

actions (alter ego and veil-piercing causes of action, as opposed to the successor

liability and fraudulent transfer causes of action here), the factual allegations upon

which those clothes hang are the same.

           What Psara has failed to disclose in its pleadings in the instant action is that

its factual allegations regarding the transfer of ownership of various vessels to the

Advantage Defendants have previously been examined in detail by Magistrate

Francis Stacy in the Southern District of Texas, who found there was nothing

improper in the transactions that would warrant any relief. See Memorandum and

Recommendation Granting Defendants’ Amended Motion to Vacate Attachments

and Dismiss (and accompanying Order Nunc Pro Tunc (Doc. 76) amending same to



2
    Psara itself has been startlingly prolific in asserting harassing claims against various Advantage entities, having now
     filed no fewer than six such suits since 2013: C.A No. 18-411 (Eastern District of Louisiana); No. 18-178 (Eastern
     District of Texas); No. 16-1305 (Eastern District of Louisiana); No. 16-4840 (Eastern District of Pennsylvania); 15-
     1673 (Southern District of Texas); and No. 15-355 (Eastern District of Texas).


                                                            -3-
PD.23611915.1
reflect that it applies to the action filed by Psara), Doc. 64 in No. 4:15-cv-01645 in

the United States District Court for the Southern District of Texas, Houston Division

(attached as Exhibit 1).

         Psara’s own papers make clear that the Advantage Defendants and the Geden

Group are entirely separate entities under separate ownership. However, Psara

alleges (as it has before in multiple different actions in various jurisdictions) a hodge-

podge of facts it contends justify holding the Advantage Defendants liable for the

alleged debts of one or more entities within the Geden Group, largely on the basis

that the Advantage Defendants purchased vessels from the Geden Group. However,

if the factual allegations made by Psara are compared to the allegations that must be

made and the facts that must be negated in order to support Psara’s attachment, it is

clear that Psara has not alleged a colorable claim.

                                    ARGUMENT

         As a threshold matter, it should be noted that Psara has presented legal

arguments regarding the facts alleged, but has not pleaded what substantive law

applies to those facts. Psara’s own papers demonstrate that the parties are corporate

entities organized under the laws of Turkey, Malta, and the Marshall Islands, and

individuals who are citizens or residents of the United Kingdom, the Swiss

Confederation, and Turkey, and that the disputes touch on vessels registered at

different times under the flags of Malta and the Marshall Islands. Psara does not



                                           -4-
PD.23611915.1
allege that any of the allegedly wrongful conduct occurred in the United States, or

that the United States has any connection to the disputes or the parties, aside from

the fortuity that a vessel owned by one of the parties happened to make a port call

within the Eastern District of Texas at the instance of a non-party time charterer. If

this Motion to Vacate is not granted, the Advantage Defendants therefore reserve

the right to allege that the substantive law of some other jurisdiction applies to the

dispute.

         In particular, it should be noted that the underlying claim (in respect of the

CV STEALTH) arises under a bareboat charter governed by English law and subject

to London arbitration. Psara has not alleged in those proceedings that the Advantage

Defendants have any liability under English law for the debts of any of the Geden

Group entities, or that the transfers of vessels to the Advantage Defendants were in

any way fraudulent. But, for purposes of the instant motion, because Psara’s

Complaint discusses various touchstones of U.S. law causes of action, the Advantage

Defendants presume Psara relies on U.S. substantive law, and will address the

Complaint’s deficiencies vis-à-vis U.S. substantive law.

                        1.The Attachment Should be vacated

Psara has the Burden to Show the Attachment Should not be Vacated

         Psara has used Rule B of the Supplemental Admiralty Rules to attach property

belonging to the Advantage Defendants in this District, as well as the Eastern District



                                          -5-
PD.23611915.1
of Louisiana. Pursuant to Federal Rule of Civil Procedure E(4)(f), “[w]henever

property is arrested or attached, any person claiming an interest in it shall be entitled

to a prompt hearing at which the plaintiff shall be required to show why the arrest or

attachment should not be vacated or other relief granted consistent with these rules.”

Once a defendant’s property has been attached, the defendant can move to vacate

the attachment under Rule E(4)(f), and “a district court must vacate an attachment if

the plaintiff fails to sustain his burden of showing that he has satisfied the

requirements of Rules B and E.” Naftomar Shipping and Trading Co. v. KMA Intern.

S.A., 2011 WL 888951, *2 (S.D. Tex., March 10, 2011). In other words, Psara bears

the burden of showing that the requirements of Rule B and E are met. Here, Psara

cannot show it has made a prima facie case to maintain the attachment.

         In order to show that the attachment of the Advantage Defendants’ property

was proper, Psara must show that: (1) it has a valid prima facie admiralty claim

against the Advantage Defendants; (2) the Advantage Defendants cannot be found

within this district; (3) the Advantage Defendant’s property may be found within the

district; and (4) there is no statutory or maritime law bar to the attachment. Aqua

Stoli Shipping Ltd. v. Gardner Smith Pty Ltd., 460 F.3d 434, 445 (2nd Cir. 2006)

(abrogated on other grounds by Shipping Corp. of India Ltd. v. Jaldhi Overseas Pte

Ltd., 585 F.3d 58 (2nd Cir. 2009)). Only element (1) is at issue in this Motion to

Vacate.



                                          -6-
PD.23611915.1
Pleading Standard

         The proper standard for determining whether a plaintiff has demonstrated a

valid prima facie admiralty claim for purposes of a motion to vacate under Rule E is

unclear. See, e.g., Transportes Navieros y Terrestres S.A. de C.V. v. Fairmount

Heavy Transp., N.V., 572 F.3d 96, 103 n. 2 (2d Cir. 2009). “There is some debate as

to whether the prima facie standard is purely a pleading standard, or whether it also

incorporates an evidentiary requirement that there be ‘reasonable grounds’ for

believing that the conditions for attachment exist.” Emeraldian Ltd. P’ship v.

Wellmix Shipping Ltd., 2009 WL 3076094, *3 (S.D.N.Y. Sept. 28, 2009). Some

“courts have compared the showing required in a ‘reasonable grounds’ analysis to

the more familiar standard of probable cause,” Wajilam Exports (Singapore) Pte.

Ltd. v. ATL Shipping Ltd., 475 F.Supp.2d 275, 278–79 (S.D.N.Y. 2006) (internal

citation omitted).

         The case of A. Coker & Co., LTD. v. Nat’l Shipping Agency Corp., et al., 1999

WL 311941, *1 (E.D. La. May 17, 1999) is instructive in this regard. In that case,

the court followed the reasonable grounds/probable cause standard, finding that “[a]t

a post-arrest hearing, the plaintiff has the burden to establish probable cause for the

arrest.” (citation omitted). “The hearing is not intended to definitively resolve the

dispute between the parties; rather, the Court must make a preliminary determination

whether reasonable grounds exist for the arrest.” Id. Thus, courts in Rule E(4)(f)



                                          -7-
PD.23611915.1
hearings do not make binding determinations of fact, but do determine if it is more

likely than not that alleged facts are true. Wajilam Exports, 475 F.Supp. 2d at 280

(citation omitted).

Psara Has Not Pleaded a Prima Facie Claim

         Not only do the facts and evidence not support Psara’s entitlement to an

attachment, Psara has not even pleaded sufficient allegations that, even if true, would

entitle it to maintain the attachment of the Advantage Defendants’ property.

         The factual allegations pleaded in support of Psara’s claims are in essence

identical to the factual allegations examined by Magistrate Stacy in the prior Texas

action. Compare Exhibit 1 at 3-4 to Psara’s Complaint in the instant action, Doc. 1

at ¶44. In that prior Texas action, the parties exchanged thousands of pages of

discovery and took the depositions of multiple witnesses, including Plaintiffs’

corporate representative Despoina Bacha (who also executed the Verification

attached to Psara’s Complaint in the instant action), and Gulsan Nazli Karamehmet

Williams (“Williams”) and Tugrul Tokgoz (“Tokgoz”) (both of whom are individual

defendants in the instant action). Based on a thorough examination of a full

evidentiary record after extensive discovery and oral argument, Magistrate Stacy

recommended that the attachments in that action be vacated and the causes of action

dismissed. However, the parties resolved the claims for security before the District

Judge could adopt Magistrate Stacy’s findings as his own (but after Judge Werlein



                                         -8-
PD.23611915.1
issued an Order Nunc Pro Tunc clarifying that Magistrate Stacy’s Memorandum and

Recommendation also applied to Psara’s cause of action).

         The Advantage Defendants recognize that, because Magistrate Stacy’s

Memorandum and Recommendation was not a final judgment on the merits, it does

not have a strictly res judicata or collateral estoppel effect against the claims asserted

by Psara in the instant action and, in a subsequent action in the Eastern District of

Pennsylvania, the district judge allowed Psara to pursue discovery on its successor

liability and fraudulent transfer theories. However, the Advantage Defendants

respectfully submit that Magistrate’s Stacy thorough and thoughtful prior

examination and weighing of the evidence persuasively demonstrates that there is

nothing wrongful about the transactions that Psara now alleges should be unwound

to the prejudice of the Advantage Defendants, who purchased the subject vessels in

arms-length transactions in full conformity with the ordinary course of such

transactions.

         Further, the facts upon which Psara relies for its arguments that the Advantage

Defendants are liable on a successor liability theory or that the vessel sales should

be unwound on a fraudulent transfer theory would not, even if established, amount

to evidence of wrongful conduct. The arrangements, relationships, and transactions

described in Psara’s Complaint are in fact commonplace in the maritime industry.

See, e.g., Swaidan Trading Co., LLC v. Dileton Maritime S.A., No. 18-994 (E.D. La.



                                           -9-
PD.23611915.1
April 16, 2018), 2018 WL 1791155 at *10.

The Advantage Defendants Cannot Be Liable for the Debts of the Prior Owners of
the Subject Vessels on a Successor Liability Theory

         Courts within the Fifth Circuit have previously applied the holding of Golden

State Bottling Co. v. Nat’l Labor Relations Board, 414 U.S. 168 (1973) in order to

determine the elements of a claim for successor liability in the maritime context:

                 [T]he general rule of corporate liability is that, when a
                corporation sells all of its assets to another, the latter is not
                responsible for the seller’s debts or liabilities, except
                where (1) the purchaser expressly or impliedly agrees to
                assume the obligations; (2) the purchaser is merely a
                continuation of the selling corporation; or (3) the
                transaction is entered into to escape liability.

Royal Ins. Co. v. Smatco Indus., Inc., 201 B.R. 755, 757 (E.D. La. 1996) (citing
Golden State Bottling Co. v. Nat’l Labor Relations Board, 414 U.S. 168 (1973)).

         It should be noted at the outset that the successor-liability test first requires

that the predecessor corporation must have sold “all of its assets to another.” As

Magistrate Stacy found, the Geden Group Defendants did not sell all of their assets

to the Advantage Defendants—instead, Magistrate Stacy credited documentary

evidence and the testimony of Tokgoz that Geden Holdings sold 50-60 of its vessels

over a period of five to six years, including eleven vessels to the Advantage

Defendants in 2015. Exhibit 1 at 13; see also Transcript of Deposition of Tokgoz at

45 (attached as Exhibit 2). So, if Psara is arguing that Advantage Holdings has

successor liability as the corporate successor to Geden Holdings, the threshold test



                                             - 10 -
PD.23611915.1
for successor liability cannot be met.

         If Psara is instead arguing that the single-vessel-owning entity Advantage

Arrow Shipping, LLC has successor liability as the corporate successor of Target

Shipping, Ltd. (the single-vessel-owning entity that previously owned the

ADVANTAGE ARROW), that argument also must fail because (even assuming

without conceding that successor liability would attach) in order to establish liability

for the debts of Space Shipping or even Geden Holdings, Psara would still have to

pierce the corporate veils of all the various corporate entities on either side of the

vessel sale.

         That is, even if Psara is able to demonstrate a prima facie claim that Advantage

Arrow Shipping, LLC has successor liability for the debts of its alleged predecessor

Target Shipping, Ltd., there is no evidence or allegation that Target Shipping, Ltd.

owed any debt to Psara. Psara would therefore have to pierce the corporate veils up

through the various holding companies of the Geden Group and then pierce the

corporate veils back down to Space Shipping, Ltd. in order to impose any obligation

for the alleged debt against Space Shipping for which Psara seeks security.

         Magistrate Stacy has already allowed discovery on those issues and

determined that a “Rule B attachment cannot be sustained on the alleged alter ego

veil piercing theory” on the exact same facts that are alleged here. See Exhibit 1 at

24.



                                           - 11 -
PD.23611915.1
           In any event, Psara has not even pleaded that it is entitled to pierce the

corporate veils of the various entities such that liability can reach back to the alleged

debts of Space Shipping. This is not surprising because, in light of Magistrate

Stacy’s findings, alter ego and veil piercing are likely the last arguments Psara would

wish to bring to the attention of this Court.

           Because Psara has not pleaded sufficient facts to entitle it to maintain an

attachment of the Advantage Defendants’ property to secure the alleged debts of any

Geden Group entity, the attachment must be vacated.

The Advantage Defendants Cannot Be Liable for the Debts of the Prior Owners of
the Subject Vessels on a Fraudulent Transfer Theory

           Although courts sitting in admiralty have incorporated the analysis of

corporate successor liability prescribed in Golden State Bottling Co. as detailed

above, the Advantage Defendants have been unable to locate any case doing the

same with respect to admiralty claims sounding in a fraudulent transfer theory.

Presumably, then, Psara would have this Court apply Texas state law to its claim for

fraudulent transfer (notwithstanding the fact that none of the parties or transactions

have a single point of contact with the State of Texas).3

           Under Texas law on fraudulent transfers, a transfer of property can be



3
    Presumably, also, Psara would have the District Court for the Eastern District of Louisiana apply Louisiana law on
     fraudulent transfers to the attachment of the ADVANTAGE START currently pending in that jurisdiction,
     notwithstanding the facts that Louisiana law may be different, and that the state of Louisiana is as remote from the
     parties and transactions as the state of Texas is. Texas has adopted the Uniform Fraudulent Transfer Act; in 2004
     Louisiana repealed its adoption of the Uniform Fraudulent Transfer Act.


                                                          - 12 -
PD.23611915.1
unwound if “the creditor’s claim arose before or within a reasonable time after the

transfer was made . . .” Tex. Bus. & Com. Code Ann. § 24.005. The vessel transfers

Psara seeks to unwind occurred prior to June 2015. However, Psara seeks security

for unpaid charter hire allegedly owed by Space Shipping for February and March

2018, and the allegedly deficient condition of the CV STEALTH upon her redelivery

in March of 2018. The alleged debts Psara seeks to secure by unwinding the vessel

sales, then, accrued almost three years after the transfers Psara seeks to unwind. The

Advantage Defendants respectfully submit that a period of almost three years

between the vessel transfers and the accrual of the debt the Geden Group allegedly

sought to avoid cannot qualify as “a reasonable time,” particularly in circumstances

where the incurrence of the alleged debt post-dates the transfer rather than vice-

versa.

         Further, in order to qualify as a fraudulent transfer, the debtor must have made

the transfer “(1) with actual intent to hinder, delay, or defraud any creditor of the

debtor; or (2) without receiving a reasonably equivalent value in exchange for the

transfer . . .” Tex. Bus. & Com. Code Ann. § 24.005. But, as Psara and its counsel

well know, Magistrate Stacy (again, after allowing voluminous and relatively

lengthy discovery) determined “the evidence in the record shows that the sale of the

assets to the Advantage Defendants was upon terms which were objectively

reasonable to both the Geden Group Defendants and the Advantage Defendants at



                                           - 13 -
PD.23611915.1
the time, with the value of the 11 tankers that were being sold set by third party

brokers.” Exhibit 1, at 13.

         Because the vessel transfers were arms’ length transactions for demonstrably

reasonable value, the sworn testimony of Despoina Bacha (who, not coincidentally,

is the person who executed the verification attesting to the veracity of the facts in

Psara’s Complaint in the instant action) demonstrates that Psara could not have been

disadvantaged by the transfers:

                Q:    So am I to understand, ma’am, that even though
                the—if the sale of these vessels, if Geden received the
                value of its equity in these vessels, plaintiffs could not
                have been disadvantaged by that sale. Is that what you’re
                saying?

                A:    Yes.

Deposition of Despoina Bacha at 81, attached as Exhibit 3. Based on the prior

deposition testimony of Psara’s own representative, Psara could not have been

injured by these allegedly fraudulent transfers.

Equitable Vacatur is Appropriate and the Advantage Defendants are Entitled to
Attorneys’ Fees for Psara’s Wrongful Attachment and Failure to Satisfy Its Duty of
Candor to the Court

         Vacatur of the attachment of the Vessel is also appropriate because Psara

appears to have failed to observe the special duty to disclose to the Court all of the

relevant facts known to it when it applied for an ex parte attachment, and to ensure

that the facts verified in the Complaint are true. ST Shipping and Transport, Inc. v.



                                          - 14 -
PD.23611915.1
Golden Fleece Maritime, Inc., No. 07 Civ. 11147(SAS), 2008 WL 4178189, at *7

(S.D.N.Y. Sept. 9, 2008) (observing that attorneys’ “obligation” to “maintain a duty

of honesty in all proceedings . . . is at its apex when the court must rely on the verified

submissions of counsel before issuing an order ex parte” and that “[t]he conformance

of the extraordinary maritime attachment remedy with the strictures of due process

‘is premised on the assurance that plaintiffs and their counsel will act with care and

candor’”) (quoting Centauri Shipping Ltd. v. Western Bulk Carriers KS, 528

F.Supp.2d 197, at 203 (S.D.N.Y. 2007)). “In ex parte proceedings such as Rule B

attachments, parties have a heightened obligation to bring material facts to the

attention of the Court, even, and indeed, particularly when they are adverse.”

Transfield ER Cape Ltd. v. STX Pan Ocean Co. Ltd., No. 09 Civ. 1250(JGK), 2009

WL 691273, at *4 (S.D.N.Y. Mar. 17, 2009). Unless Psara was more forthcoming

with the Court in its oral representation during an ex parte hearing than it was in its

pleadings, this heightened duty of candor was not met here.

         As detailed above, essentially identical arguments have been made against the

Advantage Defendants by Psara and its counsel in serial actions in multiple

jurisdictions over the past several years. Similar arguments and identical facts have

been substantively addressed in the Southern District of Texas, and found to be

unsupported by the evidence obtained through substantial discovery. The fact that

Psara and its counsel apparently failed to disclose the prior attachments and



                                          - 15 -
PD.23611915.1
Magistrate Stacy’s rejection of the claims is evidence of the weakness of Psara’s

claims.

         Psara’s apparently cavalier attitude toward the duty of full disclosure has, as

Psara no doubt knew it would, caused significant damages to the Advantage

Defendants. “[A]n erroneous attachment of [property] is extremely burdensome on

the compan[y] whose [property is] attached.” REA Navigation, Inc. v. World Wide

Shipping Ltd., 2009 WL 3334794, *3 (S.D.N.Y., Oct.14, 2009). In this case, the

Advantage Defendants have incurred tens of thousands of dollars in attorneys’ fees,

have had to place the attached vessel offhire resulting in a loss of revenue, and are

at risk of losing a valuable long-term time charter entirely if the Vessel is not quickly

released and allowed to proceed with her voyage. All of these costs have been

incurred so that the Advantage Defendants can defend a case that should never have

been brought, and an attachment that likely never would have been granted had Psara

satisfied its duty of candor by advising the Court of all the relevant facts.

         Psara’s pattern of harassing the Advantage Defendants through serial,

meritless actions throughout the United States warrants equitable vacatur of the

attachment. The Advantage Defendants reserve the right to seek monetary damages

for Psara’s wrongful attachment.

                2. Alternatively, the Claimed Security Should be Reduced

Psara has Grossly Overstated the Security to Which it is Allegedly Entitled



                                          - 16 -
PD.23611915.1
         Psara alleges it is entitled to security in the aggregate amount of

$19,860,063.80, calculated as follows: (1) $18,000,000 for the “repaired value” of

the CV STEALTH (notably failing to give any credit for the actual value of the

vessel as received by Psara upon redelivery); (2) $510,208.33 in unpaid charter hire;

(3) $6,515.50 in awarded legal costs; (4) $943,340.00 in interest at 6% compounded

quarterly for one year; and (5) $400,000 in recoverable legal fees and costs. Psara is

either grossly mistaken in how its claimed damages will be calculated in the London

arbitration, or is deliberately misleading the Court in a calculated effort to inflict

maximum financial distress on the Advantage Defendants.

         The bareboat charter party for the CV STEALTH between Psara and

Defendant Space Shipping (from which all of Psara’s claimed damages stem),

provides for the application of English law. Under English law, in the event a

charterer breaches its duty to redeliver a vessel in the condition specified in the

charter party, the proper measure of damages is the diminution in value of the vessel

by reason of the charterer’s breach. M. Davis, Bareboat Charters §15.12 at 90

(Informa Law 2005), citing Channel Island Ferries Ltd. v. Cenargo Navigation Ltd.

(The "Rozel"), [1994] 2 Lloyd’s Rep. 161. Even so, the owner can only recover the

full cost of effecting the repairs if it is reasonable in all the circumstances. Id.

         In order to provide the court with evidence of the diminution in value of the

CV STEALTH upon redelivery, the Advantage Defendants respectfully submit the



                                          - 17 -
PD.23611915.1
Declaration of Mr. Paul Willcox of C.W. Kellock & Co., an internationally

recognized ship valuation company based in London. See Declaration of Paul

Willcox dated April 24, 2018 (“Willcox Declaration”), attached as Exhibit 4. A copy

of C.W. Kellock’s Company Resume is appended as Exhibit “A” to the Willcox

Declaration. As will be seen upon a review of the Company Resume, Mr. Willcox

has qualified to provide expert testimony in the Southern District of Texas regarding

ship values and practices regarding the sale and purchase of ships. Exhibit “B” to

the Willcox Declaration is a valuation certificate for the value of the CV STEALTH

in sound trading condition (i.e., fully repaired), which is assessed to be

$9,500,000.00. The second valuation certificate, appended as Exhibit “C” to the

Willcox Declaration, is for the demolition (i.e., scrap) value of the vessel, which is

assessed to be $7,825,000.00. Applying the proper measure of potentially

recoverable damages under English law, the proper measure of potential damages

for Plaintiff’s redelivery damage claim is the difference between the two figures, or

$1,675,000.00.4

           The quarterly compounded interest that is allegedly potentially recoverable

should therefore also be adjusted accordingly.

           Finally, Psara provides no support or evidence for its claimed entitlement to



4
    Psara provides no evidence, beyond its own conclusory say-so, in support of its allegation that the CV STEALTH in
     a fully repaired condition would be worth $18,000,000, and does not calculate any setoff value for the current value
     of the ship.


                                                          - 18 -
PD.23611915.1
security for $400,000 in recoverable legal fees and costs. The Advantage Defendants

respectfully submit that this figure is overstated, and that Psara should be required

to provide something more than its own say-so in support of its entitlement to

security for such legal fees.

                                    CONCLUSION

         Plaintiffs have obtained ex parte relief and attached a vessel belonging to the

Advantage Defendants. The attachment must be vacated, because Psara cannot

demonstrate a prima facie claim that it is entitled to the attachment.

         The Advantage Defendants pray that the attachment be vacated, and that they

be awarded their attorneys’ fees and costs. The Advantage Defendants pray for all

other and further relief to which they may be justly entitled.

                                             Respectfully submitted,

                                             s/ Marc G. Matthews
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                                           FOR DEFENDANTS ADVANTAGE
                                           ARROW SHIPPING, LLC;
                                           ADVANTAGE TANKERS, LLC;
                                           ADVANTAGE HOLDINGS, LLC; AND
                                           FORWARD HOLDINGS, LLC


                                          - 19 -
PD.23611915.1
OF COUNSEL:
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                           CERTIFICATE OF SERVICE
       I certify that a copy of the foregoing was electronically filed with the Clerk,
with a copy served electronically by the Clerk or by the undersigned on this the 26th
day of April, 2018 upon all counsel of record.


                                         s/ Marc G. Matthews
                                         Marc G. Matthews




                                        - 20 -
PD.23611915.1
